     Case 1:25-cv-00239-LLA    Document 21-1     Filed 01/30/25   Page 1 of 33




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239 (LLA)
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)


        DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
            MOTION FOR A TEMPORARY RESTRAINING ORDER
                AND IN SUPPORT OF MOTION TO DISMISS
        Case 1:25-cv-00239-LLA                        Document 21-1                Filed 01/30/25              Page 2 of 33




                                                   TABLE OF CONTENTS

INTRODUCTION ...........................................................................................................................1
BACKGROUND .............................................................................................................................3
STANDARD OF REVIEW .............................................................................................................5
ARGUMENT ...................................................................................................................................6
I. This Court Lacks Jurisdiction Over Plaintiffs’ Claims ..............................................................6
     A. Plaintiffs’ Claims Are Moot Due to Rescission of the Challenged Memo ..........................6
     B. Plaintiffs Have Failed to Establish Article III Standing.......................................................7
II. Plaintiffs Cannot Challenge the President’s Executive Orders, or Agencies’ General
    Implementation of those Orders............................................................................................... 11
     A. The President’s Executive Orders Are Not Subject to Challenge ......................................12
     B. APA Claims Cannot Be Used to Broadly Challenge an Agency’s General
        Implementation Activities ..................................................................................................13
III. Plaintiffs’ Challenges Are Meritless ........................................................................................16
     A. The President and OMB May Lawfully Direct Agencies to Implement the
        President’s Priorities, Consistent With Those Agencies’ Own Authorities ........................16
     B. Temporary Pauses in Funding Are Legally Permissible ....................................................20
     C. A Temporary Pause in Funding Is Not Arbitrary and Capricious ......................................22
     D. Plaintiffs’ First Amendment Claims Are Meritless Because the Government May
        Choose Which Programs It Intends to Subsidize ...............................................................24
IV. The Balance of the Equities Independently Forecloses Relief ................................................27
     A. Plaintiffs Have Not Proven Irreparable Injury In the Short Timeframe of a
        Temporary Restraining Order ............................................................................................27
     B. The Public Interest Weighs Squarely Against Relief .........................................................29
V. Any Injunctive Relief Should be Stayed ..................................................................................30
CONCLUSION ..............................................................................................................................30
      Case 1:25-cv-00239-LLA           Document 21-1         Filed 01/30/25       Page 3 of 33




                                        INTRODUCTION

       The President of the United States, along with the chief agency responsible for overseeing

expenditures—the Office of Management and Budget (OMB)—plainly have authority to direct

agencies to fully implement the President’s agenda, consistent with each individual agency’s

underlying statutory authorities. That is what President Trump has done in several Executive

Orders including directions on federal spending, and that is what OMB did in the now-withdrawn

Memorandum that is the focus of Plaintiffs’ claims in this case. See OMB Mem. M-25-13,

Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs (Jan. 27,

2025) (“OMB Memo”). Indeed, the President’s authority to direct subordinate agencies to

implement his agenda, subject to those agencies’ own statutory authorities, is well-established in

numerous D.C. Circuit decisions. See Bldg. & Const. Trades Dep’t v. Allbaugh, 295 F.3d 28, 32

(D.C. Cir. 2002) (“[T]he President’s power necessarily encompasses ‘general administrative

control of those executing the laws,’ throughout the Executive Branch of government, of which he

is the head.” (quoting Myers v. United States, 272 U.S. 52, 164 (1926), citation omitted)); see also,

e.g., Sherley v. Sebelius, 689 F.3d 776, 784 (D.C. Cir. 2012) (“[A]s an agency under the direction

of the executive branch, it must implement the President’s policy directives to the extent permitted

by law.”); Sierra Club v. Costle, 657 F.2d 298, 406 (D.C. Cir. 1981) (“The authority of the President

to control and supervise executive policymaking is derived from the Constitution.”).

       Notwithstanding this clear authority, Plaintiffs here request sweeping relief, on an

emergency basis, that would effectively disable the President and OMB from providing these types

of instructions to agencies. There is no valid basis for awarding such relief. Plaintiffs’ motion for

a temporary restraining order should be denied, and this entire action should be dismissed.

       First, this Court lacks jurisdiction. Plaintiffs’ claims in this case are directed solely against

the OMB Memo, which has now been withdrawn thereby rendering their claims moot. And even


                                                 -1-
      Case 1:25-cv-00239-LLA           Document 21-1         Filed 01/30/25       Page 4 of 33




prior to withdrawal, Plaintiffs have not established that the OMB Memo actually caused any harm

redressable by an Order in this suit. Thus, this Court lacks Article III jurisdiction over their claims.

       Plaintiffs have recently suggested during discussions between the parties that, despite the

withdrawal of the challenged OMB Memo, they continue to suffer harm as a result of the

President’s Executive Orders which remain in effect. But Plaintiffs cannot expand their claims to

seek relief against the President’s Executive Orders, which are not subject to challenge. Over 150

years ago, the Supreme Court held that courts have “no jurisdiction . . . to enjoin the President in

the performance of his official duties.” Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 501 (1867);

see also Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir. 2010) (“With regard to the President,

courts do not have jurisdiction to enjoin him, and have never submitted the President to declaratory

relief.” (citation omitted)). Nor can Plaintiffs use the Administrative Procedure Act (APA) to

broadly challenge agencies’ implementation of the Executive Orders. No federal agencies (other

than OMB) have been named as defendants, and Plaintiffs cannot use this suit to seek relief against

those non-parties. Moreover, the APA authorizes judicial review only over discrete, final agency

actions, not generalized implementation activities.

       Finally, even if the Court could review Plaintiffs’ claims, they all fail on the merits. The

President and OMB may lawfully direct agencies to implement the President’s agenda consistent

with each agency’s governing authorities. And temporary pauses on the disbursement of federal

funds are commonplace, accepted by the Legislative Branch, and well within OMB’s statutory

authorities. Such a pause to ensure that funding is distributed consistent with the President’s

agenda is not arbitrary and capricious, nor does anything about the pause infringe on Plaintiffs’

expressive activity or otherwise violate the First Amendment. Accordingly, Plaintiffs’ claims all

fail, their request for emergency relief should be denied, and this case should be dismissed.




                                                  -2-
      Case 1:25-cv-00239-LLA           Document 21-1        Filed 01/30/25      Page 5 of 33




                                         BACKGROUND

       On January 27, 2025, OMB issued the challenged OMB Memo, “requir[ing] Federal

agencies to identify and review all Federal financial assistance programs and supporting activities

consistent with the President’s policies and requirements.” OMB Memo at 1. The OMB Memo

further directed that “[i]n the interim, to the extent permissible under applicable law, Federal

agencies must temporarily pause all activities related to obligation or disbursement of all Federal

financial assistance, and other relevant agency activities that may be implicated by the executive

orders[.]” Id. at 2. In multiple places, the OMB Memo specified that agencies should take such

action “to the extent permissible be law.” Id.

       On January 28, 2025, Plaintiffs filed the instant action against two Defendants—OMB and

the Acting Director of OMB—seeking an order nullifying Memo M-25-13. See Complaint (ECF

No. 1) ¶¶ 5-6, 43-61. Plaintiffs filed this suit on behalf of several associations and organizations,

only some of which appear to directly receive federal financial assistance. For example, with

respect to the National Council of Nonprofits (NCN) and Main Street Alliance (MSA), only their

members appear to receive federal assistance. See id. ¶¶ 32, 37. The American Public Health

Association (APHA) and SAGE are alleged to directly participate in certain grant programs. Id.

¶¶ 33, 41.

       Plaintiffs’ Complaint portrays the OMB Memo as “unilaterally terminat[ing] all federal

financial assistance programs across the entire government.” Id. ¶ 60. As the text of the OMB

Memo and subsequent OMB Guidance made clear, however, the OMB Memo’s pause applied only

to funding implicated by the President’s recent Executive Orders. See OMB Memo at 2 (“To

implement these orders, each agency must complete a comprehensive analysis of all of their

Federal financial assistance programs to identify programs, projects, and activities that may be

implicated by any of the President’s executive orders. In the interim, to the extent permissible under


                                                 -3-
      Case 1:25-cv-00239-LLA           Document 21-1         Filed 01/30/25      Page 6 of 33




applicable law, Federal agencies must temporarily pause all activities related to obligation or

disbursement of all Federal financial assistance, and other relevant agency activities that may be

implicated by the executive orders[.]” (emphases added)); OMB Guidance (ECF No. 11-1) at 1

(“Any program not implicated by the President’s Executive Orders is not subject to the pause.”).

Moreover, the OMB Guidance reiterated that agencies should pause their funding activities only

when doing so is consistent with underlying law. See id. (“In implementing President Trump’s

Executive Orders, OMB issued guidance requesting that agencies temporarily pause, to the extent

permitted by law, grant, loan or federal financial assistance programs that are implicated by the

President’s Executive Orders.” (emphasis added)); id. (“Any payment required by law to be paid

will be paid without interruption or delay.”); id. at 2 (“It is a temporary pause to give agencies time

to ensure that financial assistance conforms to the policies set out in the President’s Executive

Orders, to the extent permitted by law.”).

       Plaintiffs also filed a motion for a temporary restraining order against the OMB Memo.

See TRO Mot. (ECF No. 5-1) at 16 (requesting that the Court “enter a temporary restraining order

enjoining OMB and its Acting Director from implementing or enforcing Memo M-25-13 until

further order of this Court”). The motion contends that the Memo is in excess of OMB’s statutory

authority, is arbitrary and capricious, and violates the First Amendment. Id. at 6-11.

       Later that same day, this Court held an Emergency Hearing at which time it ordered an

administrative stay of the OMB Memo.            See Order (Jan. 28, 2025) (ECF No. 13).           The

administrative stay directed that “Defendants shall refrain from implementing OMB Memorandum

M-25-13 with respect to the disbursement of Federal funds under all open awards.” Id. at 4-5. The

administrative stay did not, however, affect the implementation of the OMB Memo as it pertains

to the “issuance of new awards” or “other relevant agency actions that may be implicated by the




                                                 -4-
      Case 1:25-cv-00239-LLA           Document 21-1        Filed 01/30/25      Page 7 of 33




executive orders.” Id. at 4. Nor did the administrative stay apply to agencies’ implementation of

the President’s Executive Orders. See Tr. of Jan. 28 Hrg. at 27 (“If there are executive order reasons

or rationales for the termination of other grants either before or after OMB’s guidance, perhaps

they fall into the case as we proceed but they would not be subject to the administrative stay.”); id.

at 29 (“So anything that was terminated pursuant to other executive orders I think is fodder for

another lawsuit.”). Because the purpose of the administrative stay was to allow “full briefing from

the parties and a motions hearing,” the Court set “expedited briefing and a hearing” on Plaintiffs’

motion for a temporary restraining order. ECF No. 13 at 3-4.

       The following day, on January 29, 2025, OMB elected to rescind the challenged OMB

Memo. See OMB Mem. M-25-14, Rescission of M-25-13 (Jan. 29, 2025) (“OMB Memorandum

M-25-13 is rescinded. If you have questions about implementing the President’s Executive Orders,

please contact your agency General Counsel.”) (ECF No. 18-1). Notwithstanding this rescission,

during discussions between the parties, Plaintiffs indicated that they believed neither their claims

nor their request for a temporary restraining order was moot. In light of Plaintiffs’ position,

Defendants hereby submit this opposition and motion to dismiss, consistent with the briefing

schedule previously ordered by the Court.

                                   STANDARD OF REVIEW

       As this Court recognized, “[t]o secure a temporary restraining order, ‘the moving party

must show (1) a substantial likelihood of success on the merits, (2) that it would suffer irreparable

injury if the injunction were not granted, (3) that an injunction would not substantially injure other

interested parties, and (4) that the public interest would be furthered by the injunction.’” ECF

No. 13 at 3 (quoting Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir.

2006)). When “the Government is the opposing party,” the assessment of “harm to the opposing

party” and “the public interest” merge. Nken v. Holder, 556 U.S. 418, 435 (2009).


                                                 -5-
      Case 1:25-cv-00239-LLA          Document 21-1        Filed 01/30/25      Page 8 of 33




       Additionally, Plaintiffs bear the burden of showing subject-matter jurisdiction. See Lujan

v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). Because “standing is not dispensed in gross,”

Plaintiffs must “demonstrate standing for each claim that they press and for each form of relief

that they seek.” TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021).

                                          ARGUMENT

I.     THIS COURT LACKS JURISDICTION OVER PLAINTIFFS’ CLAIMS

       A.      Plaintiffs’ Claims Are Moot Due to Rescission of the Challenged Memo

       Plaintiffs’ only claims in this case challenge the OMB Memo. That is the singular action

challenged in the Complaint, see ECF No. 1 ¶¶ 43-61, and there are no defendants named in this

suit other than OMB and the Acting Director of OMB, id. ¶¶ 5-6. Similarly, Plaintiffs’ motion for

a temporary restraining order seeks relief only against the OMB Memo. See TRO Mot. at 16; see

also ECF No. 5 at 2. Now that the OMB Memo has been rescinded, therefore, Plaintiffs’ claims

are moot. See Fund for Animals, Inc. v. Bureau of Land Mgmt., 460 F.3d 13, 18 (D.C. Cir. 2006)

(“Because the memo has expired, this claim is moot.”); Christian Knights of Ku Klux Klan

Invisible Empire, Inc. v. Dist. of Colum., 972 F.2d 365, 369 (D.C. Cir. 1992) (holding that case was

moot because the challenger “received the full measure of relief it sought through its complaint”).

       While voluntary cessation may sometimes be insufficient to moot a case, “the

government’s abandonment of a challenged [policy] is just the sort of development that can moot

an issue.” Friends of Animals v. Bernhardt, 961 F.3d 1197, 1203 (D.C. Cir. 2020). That is because

the case is no longer “an appropriate vehicle to address Appellant’s interest in prospective

clarification of or changes to [agency policy].” Row 1 Inc. v. Becerra, 92 F.4th 1138, 1144 (D.C.

Cir. 2024), cert. denied, 220 L. Ed. 2d 170 (Oct. 21, 2024). This mootness defect, on its own, is

sufficient to dispose of Plaintiffs’ request for emergency relief and dismiss their Complaint.




                                                -6-
      Case 1:25-cv-00239-LLA          Document 21-1         Filed 01/30/25       Page 9 of 33




       B.      Plaintiffs Have Failed to Establish Article III Standing

       Even if Plaintiffs’ claims were not moot, their claims fail—and their motion for a

temporary restraining order must be denied—because they have not established standing. They

have not proven with evidence (or even plausibly alleged) that, in the absence of relief from this

Court, the OMB Memo’s temporary pause would actually deprive Plaintiffs of any funds they

otherwise would expect to receive under one of their existing grants. Nor have they proven that

any such injury would be traceable to the OMB Memo, as opposed to the particular agency that

elected to pause that specific grant program’s funding, or would be redressed by relief directed

solely against the OMB Memo. Thus, Plaintiffs lack standing.

       Standing is a “threshold question in every federal case, determining the power of the court

to entertain the suit” and demands that a plaintiff have “a personal stake in the outcome of the

controversy [so] as to warrant his invocation of federal-question jurisdiction.” Warth v. Seldin,

422 U.S. 490, 498 (1975). “[S]tanding is assessed as of the time a suit commences,” Chamber of

Commerce of U.S. v. EPA, 642 F.3d 192, 200 (D.C. Cir. 2011).

       To establish standing, a plaintiff must show: (1) an “injury in fact,” that is, a violation of a

legally protected interest that is “concrete and particularized” and “actual or imminent, not

conjectural or hypothetical”; (2) a causal connection between the injury and the defendant’s

conduct such that the injury is “fairly . . . traceable to the challenged action”; and (3) that it is

“likely, as opposed to merely speculative that the injury will be redressed by a favorable decision.”

Defs. of Wildlife, 504 U.S. at 560-61. “The plaintiff, as the party invoking federal jurisdiction,

bears the burden of establishing these elements,” and therefore “must clearly . . . allege facts

demonstrating each element,” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (quoting Warth,

422 U.S. at 518). Where, as here, the challenged government action governs the conduct of

government officials and therefore “the plaintiff is not himself the object of the government action


                                                 -7-
     Case 1:25-cv-00239-LLA          Document 21-1         Filed 01/30/25      Page 10 of 33




. . . he challenges, standing is not precluded, but it is ordinarily substantially more difficult to

establish.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009) (citation omitted).

       To establish injury in fact, a plaintiff must show that the defendant’s action affects him or

her in a “personal and individual way,” see id. at 560 n.1, rather than being a “generalized

grievance,” Food & Drug Admin. v. Alliance for Hippocratic Med., 602 U.S. 367, 381 (2024). A

plaintiff “may not sue based only on an asserted right to have the Government act in accordance

with law,” nor may plaintiffs sue “merely because their legal objection is accompanied by a strong

moral, ideological, or policy objection to a government action.” Id. (citation omitted). Thus, the

“[t]he injury in fact requirement prevents the federal courts from becoming a ‘vehicle for the

vindication of the value interests of concerned bystanders.’” Id. at 382 (quoting Allen v. Wright,

468 U.S. 737, 756 (1984)). Moreover, a plaintiff must show more than a “possible future injury”;

he or she must show that harm has actually occurred or is “certainly impending.” Whitmore v.

Arkansas, 495 U.S. 149, 158 (1990) (citations omitted). The Supreme Court has emphasized that

“threatened injury must be certainly impending to constitute injury in fact, and that allegations of

possible future injury are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

(citations omitted).

       Here, Plaintiffs raise several different theories of injury, none of which is sufficient under

Article III. First, Plaintiffs assert that “[m]embers of APHA, MSA, and NCN receive and

otherwise directly benefit from federal financial assistance, including grants and loans,” and that

“halting those expenditures will likewise halt the services they are able to provide in their

communities, while risking their own financial viability.” TRO Mot. at 13; see also Compl. ¶¶ 32-

33, 37-39. By invoking the rights of members who receive federal financial assistance, Plaintiffs

appear to be attempting to assert associational standing. However, Plaintiffs fail to specifically




                                                -8-
     Case 1:25-cv-00239-LLA           Document 21-1         Filed 01/30/25      Page 11 of 33




identify any such member of their organizations. This is inadequate to establish standing. Indeed,

the D.C. Circuit instructs that “[w]hen a petitioner claims associational standing, it is not enough

to aver that unidentified members have been injured.” Chamber of Commerce of U.S., 642 F.3d

at 199. “Rather, the petitioner must specifically ‘identify members who have suffered the requisite

harm.’” Id. (quoting Summers, 555 U.S. at 499); see also Am. Chemistry Council v. Dep’t of

Transp., 468 F.3d 810, 820 (D.C. Cir. 2006) (“[A]n organization bringing a claim based on

associational standing must show that at least one specifically-identified member has suffered an

injury-in-fact. . . . At the very least, the identity of the party suffering an injury in fact must be

firmly established.”). Because Plaintiffs “ha[ve] not identified a single member who . . . would

be injured,” they lack associational standing. Chamber of Commerce of U.S., 642 F.3d at 200.

        Moreover, the Plaintiff organizations cannot establish injury by relying on the OMB

Memo’s purported harm to their overall “missions.” TRO Mot. at 13. Plaintiffs “must show far

more than simply a setback to the organization’s abstract social interests.” Alliance for

Hippocratic Med., 602 U.S. at 394. “[A]n organization may not establish standing simply based

on the intensity of the litigant’s interest or because of strong opposition to the government’s

conduct, no matter how longstanding the interest and no matter how qualified the organization.”

Id. (citations omitted).

        At most, the only Plaintiffs potentially with standing would be those organizations that

directly receive Federal financial assistance—which here appears to be APHA and SAGE. Compl.

¶¶ 33, 40. Even as to those organizations, however, it is speculative whether they would actually

be harmed by any temporary pause. As the OMB Guidance noted, “[a] pause could be as short as

[a] day,” and “OMB has worked with agencies and has already approved many programs to

continue even before the pause has gone into effect.” OMB Guidance at 1. Thus, it is far from




                                                 -9-
     Case 1:25-cv-00239-LLA           Document 21-1         Filed 01/30/25       Page 12 of 33




clear that any individual program or grant involving these Plaintiffs would have been subject to

the pause at all. Moreover, neither APHA nor SAGE provides any information about when they

next expect grant payments or disbursements under their programs, which makes it impossible for

this Court to determine whether these programs would be affected by a temporary pause of limited

duration. Indeed, Plaintiffs previously conceded that the record lacked such specificity. See Tr.

of Jan. 28 Hrg. at 13 (“I do not believe we have a specific allegation of income as to a particular

program.”). In the absence of such proof, any injury stemming from a temporary pause is purely

“hypothetical,” as opposed to “actual or imminent.” Defs. of Wildlife, 504 U.S. at 560.

       In addition to failing to show injury in fact, Plaintiffs’ alleged injuries are not “fairly . . .

traceable to the challenged action.” Defs. of Wildlife, 504 U.S. at 560. The now-rescinded OMB

Memo did not itself temporarily pause (let alone eliminate) any federal financial assistance.

Rather, the OMB Memo merely instructed federal agencies to temporarily pause certain federal

financial assistance programs “to the extent permissible under applicable law.” OMB Memo at 2.

Thus, even assuming Plaintiffs established that they would suffer harm due to a temporary pause,

any such harm would be caused not by OMB’s Memo, but by as-yet-untaken action by other

federal agencies that administer those programs and are not party to this suit. See Defs. of Wildlife,

504 U.S. at 560 (to establish standing, injury must be “fairly . . . trace[able] to the challenged

action of the defendant, and not . . . th[e] result [of] the independent action of some third party not

before the court.”); see also Louisiana v. Biden, 64 F.4th 674, 681 (5th Cir. 2023) (holding that

plaintiffs lacked standing to challenge an executive order that required agencies to “exercise

discretion in conducting their cost-benefit analyses and deciding to use the Interim Estimates as

‘appropriate and consistent with applicable law,’” because “the mere ‘possibility of regulation’

fails to satisfy injury in fact”); Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1254 (11th Cir.




                                                 -10-
      Case 1:25-cv-00239-LLA          Document 21-1         Filed 01/30/25       Page 13 of 33




2020) (plaintiff failed to demonstrate standing where “a different, independent official” had control

over the action which allegedly harmed the plaintiff).

       Similarly, even if this Court granted relief against the OMB Memo, that would not prevent

non-defendant agencies from exercising their own independent authorities to determine whether,

consistent with law, a pause is warranted. Consequently, neither Plaintiffs nor this Court can

“begin to predict on this record what impact,” if any, invalidating the OMB Memo would have.

Freedom Republicans, Inc. v. Fed. Election Comm’n, 13 F.3d 412, 419 (D.C. Cir. 1994). Plaintiffs

have accordingly failed to allege facts which show that any injuries are traceable to the challenged

actions, or that their requested relief will remedy any such claimed injuries.

II.    PLAINTIFFS CANNOT CHALLENGE THE PRESIDENT’S EXECUTIVE
       ORDERS, OR AGENCIES’ GENERAL IMPLEMENTATION OF THOSE ORDERS

       The above defects are sufficient to dispose of this matter; Plaintiffs’ only claims in this case

are moot, and Plaintiffs have not properly invoked this Court’s Article III jurisdiction. Based on

Plaintiffs’ position that emergency proceedings are still warranted, however, it appears that

Plaintiffs now intend to seek relief against a broader set of actions beyond just the now-withdrawn

OMB Memo—e.g., perhaps the President’s Executive Orders themselves, or agencies’

implementation of those Executive Orders. But any such claims are absent from Plaintiffs’

Complaint and TRO motion.

       This Court should not allow Plaintiffs to expand this case and seek relief against a broader

set of actions that appear nowhere in their Complaint or TRO motion. Cf. Mylan Lab'ys Ltd. v.

Food & Drug Admin., 910 F. Supp. 2d 299, 312 (D.D.C. 2012) (concluding that a new argument

raised in a reply in support of a motion for preliminary injunction was waived); Quinn v. Dist. of

Colum., 740 F. Supp. 2d 112, 130 (D.D.C. 2010) (declining to consider claim not included within

Complaint). In particular, Plaintiffs should not be permitted to seek injunctive relief against non-



                                                -11-
     Case 1:25-cv-00239-LLA            Document 21-1         Filed 01/30/25      Page 14 of 33




party agencies that have not been named as defendants in this suit, and have not been fairly

apprised of any particularized agency actions that Plaintiffs seek to challenge. See Defs. of

Wildlife, 504 U.S. at 569 & n.4 (Scalia, J., plurality op.) (holding that resolution of a disputed legal

issue “would not have been binding upon the agencies” that “were not parties to the suit”); see

also Haaland v. Brackeen, 599 U.S. 255, 293 (2023) (“[S]tate officials are nonparties who would

not be bound by the judgment.”); Murthy v. Missouri, 603 U.S. 43, 73-74 (2024).

       Regardless, even if the Court allowed Plaintiffs to seek relief beyond just the OMB

Memo—e.g., against the President’s Executive Orders or agencies’ implementation of those

Orders—such claims are likewise precluded. The President’s Executive Orders are not subject to

challenge, and Plaintiffs cannot use the APA to broadly challenge agencies’ ongoing

implementation of their overall budget programs.

       A.      The President’s Executive Orders Are Not Subject to Challenge

       Plaintiffs cannot seek relief directly against the President or his Executive Orders. Courts

have no authority to second-guess “discretion[ary]” acts taken by the President “in the performance

of his official duties.” Mississippi, 71 U.S. at 501; see also Franklin v. Massachusetts, 505 U.S.

788, 827 (1992) (Scalia, J., concurring in part). The Court explained in Marbury v. Madison, 5

U.S. (1 Cranch) 137, 165-66 (1803), that under “the constitution of the United States, the President

is invested with certain important political powers, in the exercise of which he is to use his own

discretion, and is accountable only to his country in his political character.” The courts’ refusal to

police the President’s discretionary acts is “a functionally mandated incident of the President's

unique office, rooted in the constitutional tradition of the separation of powers and supported by

our history.” Nixon v. Fitzgerald, 457 U.S. 731, 749 (1982); see also Newdow, 603 F.3d at 1013

(“With regard to the President, courts do not have jurisdiction to enjoin him, and have never

submitted the President to declaratory relief.” (citation omitted)).


                                                 -12-
     Case 1:25-cv-00239-LLA           Document 21-1        Filed 01/30/25       Page 15 of 33




       Thus, to the extent Plaintiffs’ theory is that their claimed harms are now caused by the

President’s recently issued Executive Orders (as opposed to the now-rescinded OMB Memo),

Plaintiffs cannot seek relief directly against those Orders or against the President himself. Pursuant

to fundamental separation of powers principles, the Executive Orders themselves are not subject

to challenge before this Court.

       B.      APA Claims Cannot Be Used to Broadly Challenge an Agency’s General
               Implementation Activities

       It is true that, even when the President himself cannot be sued, “[r]eview of the legality of

Presidential action can ordinarily be obtained in a suit seeking to enjoin the officers who attempt

to enforce the President’s directive.” Franklin, 505 U.S. at 828 (Scalia, J., concurring in part). But

no agency (aside from OMB) is presently a defendant in this suit. And in any event, the suit would

still need to satisfy the normal requirements for obtaining judicial review of agency action. Here,

Plaintiffs cannot use the APA to challenge agencies’ ongoing funding decisions or implementation

of Presidential Executive Orders—such overall programs are not the type of discrete, final agency

actions subject to challenge under the APA.

       The APA permits review only over “final agency action,” 5 U.S.C. § 704, which means that

the action “must mark the consummation of the agency’s decisionmaking process,” and “the action

must be one by which rights or obligations have been determined, or from which legal

consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (citations omitted).

Additionally, these final agency actions must be “circumscribed [and] discrete.” Norton v.

Southern Utah Wilderness Alliance (SUWA), 542 U.S. 55, 62 (2004). The APA does not provide

for “general judicial review of [an agency’s] day-to-day-operations,” Lujan v. Nat’l Wildlife Fed’n,

497 U.S. 871, 899 (1999), like “constructing a building, operating a program, or performing a

contract,” Vill. of Bald Head Island v. U.S. Army Corps. of Eng’rs, 714 F.3d 186, 193 (4th Cir.



                                                -13-
     Case 1:25-cv-00239-LLA           Document 21-1        Filed 01/30/25       Page 16 of 33




2013).    “The case-by-case approach that this requires is understandably frustrating to an

organization . . . which has as its objective across-the-board protection of our Nation's wildlife and

the streams and forests that support it. But this is the traditional, and remains the normal, mode of

operation of the courts.” Nat’l Wildlife Fed’n, 497 U.S. at 894.

         Here, Plaintiffs cannot challenge the OMB Memo (or any other overarching guidance about

how to implement the President’s priorities) because that is not final agency action. The OMB

Memo did not itself determine which funds or grants should be paused; instead, it required agencies

to make that determination, consistent with their own authorities. The OMB Memo was therefore

akin to general guidance, not the final agency decision as to any particular funding, let alone a

legally binding determination as to that funding. See, e.g., Vill. of Bensenville v. Fed. Aviation

Admin., 457 F.3d 52, 69 (D.C. Cir. 2006) (holding that “a planning document . . . does not complete

the agency’s decisionmaking process”); Ctr. for Auto Safety v. Nat’l Hwy. Traffic Safety Admin.,

452 F.3d 798, 809-10 (D.C. Cir. 2006) (holding that policy guidelines were not final agency

actions, because the agency retained discretion to engage in case-by-case evaluation); see also

Fund for Animals, Inc. v. Bureau of Land Mgmt., 460 F.3d 13, 22 (D.C. Cir. 2006) (describing “this

court’s consistent refusal to review agency orders that do not themselves adversely affect

complainant but only affect his rights adversely on the contingency of future administrative action”

(cleaned up)); Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726,

731-32 (D.C. Cir. 2003); cf. Louisiana, 64 F.4th at 684 (holding that “Plaintiffs contemplate harms

that are several steps removed from . . . the challenged Executive Order,” and they “cannot do

away with their alleged parade of horribles in a single swipe at the duly elected executive”).

         Moreover, Plaintiffs also cannot use the APA to advance a broad, programmatic attack on

how agencies implement the President’s Executive Orders or other funding directives. “Under the




                                                -14-
     Case 1:25-cv-00239-LLA           Document 21-1         Filed 01/30/25      Page 17 of 33




terms of the APA, respondent must direct its attack against some particular ‘agency action’ that

causes it harm.” Nat’l Wildlife Fed’n, 497 U.S. at 891. Perhaps the APA would allow individual

grant recipients to challenge specific withholdings of funds under a particular grant. But that is

not what Plaintiffs seek in this suit; they are not bringing claims, for example, based only on a

pause of funding under specific programs affecting their specific Plaintiffs. Instead, they claim to

seek relief on behalf of “tens of thousands of members” potentially affected by the “many, many

grant programs across the country.” Tr. of Jan. 28 Hrg. at 6. Such amorphous, generalized claims—

untethered to specific decisions in the context of individual grant programs—are indistinguishable

from the type of broad, programmatic challenges the Supreme Court and D.C. Circuit have

rejected. See Nat’l Wildlife Fed’n, 497 U.S. at 890; Am. Forest Res. Council v. United States, 77

F.4th 787, 805 (D.C. Cir. 2023) (rejecting a “blunderbuss challenge” in which the plaintiffs

“complain not that the Secretary failed to take a specific action but rather that she failed to carry

out the . . . Act’s general directives”); Fund for Animals, Inc. v. Bureau of Land Mgmt., 460 F.3d

13, 21 (D.C. Cir. 2006) (holding that a “budget proposal represent[ing] the Bureau’s latest plan to

comply with its broad statutory mandate” was not reviewable).

       One of the reasons why plaintiffs must challenge discrete, final agency actions is to avoid

injecting courts into the day-to-day oversight and supervision of agencies’ compliance:

       If courts were empowered to enter general orders compelling compliance with
       broad statutory mandates, they would necessarily be empowered, as well, to
       determine whether compliance was achieved—which would mean that it would
       ultimately become the task of the supervising court, rather than the agency, to work
       out compliance with the broad statutory mandate, injecting the judge into day-to-
       day agency management.

SUWA, 542 U.S. at 66-67. That concern is particularly apt here. Whatever the scope of Plaintiffs’

challenges, it is virtually impossible to imagine a court order that “state[s] its terms specifically,”

Fed. R. Civ. P. 65(d)(1)(B), without also threatening to place this Court in the role of overseeing a



                                                 -15-
       Case 1:25-cv-00239-LLA         Document 21-1         Filed 01/30/25      Page 18 of 33




wide swath of the Executive Branch’s ongoing funding activities, particularly when Plaintiffs

demand emergency relief applicable to all recipients of federal financial assistance. See TRO Mot.

at 15-16; see also Louisiana v. Biden, 45 F.4th 841, 846 (5th Cir. 2022) (vacating an injunction

purporting to enjoin a “pause” of certain leases, because the court could not “ascertain from the

record what conduct—an unwritten agency policy, a written policy outside of the Executive Order,

or the Executive Order itself—is enjoined”). The inability to fashion tailored relief highlights the

fundamental defect in Plaintiffs’ efforts to oversee the entirety of the Executive Branch’s funding

decisions, whether as part of a challenge to the now-withdrawn OMB Memo or to some other

universe of agency actions.

III.    PLAINTIFFS’ CHALLENGES ARE MERITLESS

        Even if the Court were willing to review Plaintiffs’ claims on the merits, or allow Plaintiffs

to expand their claims beyond just the OMB Memo at issue in this case, none of the Executive

Branch’s actions were unlawful. To the contrary, they were fully consistent with longstanding

Executive Branch authority, as recognized by the D.C. Circuit. And the OMB Memo (although

now withdrawn) was likewise lawful and appropriate. Finally, Plaintiffs’ First Amendment claims

fail because the Government is allowed to choose what activities to fund without being subjected

to heightened scrutiny. Thus, even if the Court were willing to consider Plaintiffs’ claims, those

claims all fail on the merits and should be dismissed.

        A.     The President and OMB May Lawfully Direct Agencies to Implement the
               President’s Priorities, Consistent With Those Agencies’ Own Authorities

        Throughout their motion, Plaintiffs seek to portray the Executive Branch’s pause in

funding as being inherently unlawful. See, e.g., TRO Mot. at 2 (“In practice, the Memo purports

to eradicate essentially all federal grant, loan, and other financial assistance programs.”); id. at 6

(asserting that OMB cannot “unilaterally, without notice or process, purport to effectively stop all



                                                -16-
     Case 1:25-cv-00239-LLA           Document 21-1         Filed 01/30/25      Page 19 of 33




grant programs across the entire federal government via a two-page Memo”); id. at 9 (“Whatever

the new administration’s feelings about the policy priorities of its predecessors, it does not have

carte blanche to ignore the consequences of those prior agency actions.”). But this argument is

fundamentally flawed for two reasons. First, as a legal matter, temporary pauses in funding are

not unlawful and indeed are commonplace, as discussed further below. See Section III.B, infra.

Second, as a factual matter, Plaintiffs’ characterization of the Executive Branch’s actions is simply

incorrect—they do not purport to issue categorical directives to pause all funding, and instead the

President and OMB have instructed agencies to implement the President’s priorities to the extent

permissible with each agency’s own governing legal authorities. As discussed above, the D.C.

Circuit has long upheld these types of Presidential directives to agencies.

       The challenged OMB Memo is explicit that the temporary pause must only be implemented

“to the extent permissible under applicable law.” OMB Memo at 2. The OMB Guidance makes

this point even more clear. See, e.g., OMB Guidance at 1 (“Any payment required by law to be

paid will be paid without interruption or delay.”); id. at 2 (“It is a temporary pause to give agencies

time to ensure that financial assistance conforms to the policies set out in the President’s Executive

Orders, to the extent permitted by law.”). Similarly, each of the relevant Executive Orders

highlighted by the OMB Memo and the supplemental Guidance instructs agencies to take certain

action but also includes a “General Provision[]” stating that the order “shall be implemented”

“consistent with applicable law and subject to the availability of appropriations.” See, e.g.,

Reevaluating and Realigning United States Foreign Aid § 4(b) (Jan. 20, 2025),

https://www.whitehouse.gov/presidential-actions/2025/01/reevaluating-and-realigning-united-

states-foreign-aid/.

       Definitionally, directing executive agencies to take action to the extent consistent with




                                                 -17-
     Case 1:25-cv-00239-LLA          Document 21-1        Filed 01/30/25      Page 20 of 33




applicable law cannot be interpreted as an order to violate the law. It is plainly lawful for the

OMB and the President to instruct agencies to act within their own authorities to implement the

President’s priorities consistent with applicable law. See, e.g., Sherley, 689 F.3d at 784 (“[A]s an

agency under the direction of the executive branch, it must implement the President’s policy

directives to the extent permitted by law.”); Sierra Club, 657 F.2d at 406.

       The D.C. Circuit’s decision in Building & Construction Trades Department, AFL-CIO v.

Allbaugh, 295 F.3d 28 (D.C. Cir. 2002) is instructive. There, Plaintiffs challenged an executive

order that provided that “to the extent permitted by law,” no federal agency and no entity that

receives federal assistance for a construction product could require or prohibit bidders or

contractors from entering into a project labor agreement. Id. at 29. Plaintiffs sued, claiming that

the executive order exceeded the President’s constitutional authority. See id. at 31-32. The D.C.

Circuit rejected this argument, pointing out that the executive order “directs [agencies] how to

proceed in administering federally funded projects, but only ‘[t]o the extent permitted by law.’”

Id. at 33. “Thus, if an executive agency, such as the FEMA, may lawfully implement the

Executive Order, then it must do so; if the agency is prohibited, by statute or other law, from

implementing the Executive Order, then the Executive Order itself instructs the agency to follow

the law.” Id. The court concluded that “[t]he mere possibility that some agency might make a

legally suspect decision to award a contract or to deny funding for a project does not justify an

injunction against enforcement of a policy that, so far as the present record reveals, is above

suspicion in the ordinary course of administration.” Id. (citing Reno v. Flores, 507 U.S. 292, 301

(1993)); see also Common Cause v. Trump, 506 F. Supp. 3d 39, 47 (D.D.C. 2020) (Katsas. J.)

(“We cannot ignore these repeated and unambiguous qualifiers imposing lawfulness and

feasibility constraints on implementing the memorandum.”).




                                                -18-
     Case 1:25-cv-00239-LLA           Document 21-1          Filed 01/30/25     Page 21 of 33




       Similarly, here, the now-rescinded OMB Memo and each of the related Executive Orders

only directs agencies to take action to the extent consistent with applicable law. Therefore, neither

the OMB Memo nor the Executive Orders can be construed as violating the law. Plaintiffs’ only

response is to contend that the OMB Memo provided too little time for agencies to implement

consistent with the law. See TRO Mot. at 9 (“Applicable law for federal financial assistance is

complex, with specific terms and requirements that vary across grant programs and individual

awards. Such an assessment is simply impossible to do across all federal financial assistance

programs    accurately   and    completely    within   the     twenty-four    hours   permitted   for

implementation.”). But this argument only highlights how Plaintiffs’ challenge, whether directed

against the OMB Memo or other agency actions, is not a challenge to a discrete, individualized

action but rather an effort to superintend the Executive Branch’s funding decisions “across all

federal financial assistance programs.” Id.; see Section II.B, supra.

       More fundamentally, the effective date of the temporary pause did not override the OMB

Memo’s instruction that the pause be implemented only “to the extent permissible by law,” as

confirmed by the subsequent OMB Guidance: “It is a temporary pause to give agencies time to

ensure that financial assistance conforms to the policies set out in the President’s Executive

Orders, to the extent permitted by law.” Guidance at 2 (emphasis added). And as that Guidance

also explained, the only financial programs affected are those “implicated by the President’s

Executive Orders,” id. at 1, most of which had been issued over a week earlier on January 20,

2025. Contrary to Plaintiffs’ theory here, the D.C. Circuit’s cases do not require that the President

or OMB provide agencies a specific period of time before those agencies can be directed to take

actions to implement the President’s agenda, to the extent permissible by law.

       As the D.C. Circuit noted, “[i]n the event that an agency does contravene the law in a




                                                -19-
     Case 1:25-cv-00239-LLA            Document 21-1         Filed 01/30/25       Page 22 of 33




particular instance, an aggrieved party may seek redress through any of the procedures ordinarily

available to it: a bid protest, a motion for administrative reconsideration, or an action in the district

court challenging that specific decision.” Allbaugh, 295 F.3d at 33.1 But the mere fact that the

Executive Branch has directed a pause in funding, to the extent permissible within an agency’s

own authorities, is hardly improper and indeed has been repeatedly endorsed by the D.C. Circuit.

        B.      Temporary Pauses in Funding Are Legally Permissible

        Plaintiffs argue that the OMB Memo “is in excess of OMB’s statutory authority,” which

they say does not extend to OMB directing pauses in funding. TRO Mot. at 6. But Plaintiffs take

an unduly cramped view of OMB’s statutory authorities, and in fact temporary pauses in funding

are commonplace and accepted by the Legislative Branch.

        As other courts have recognized, OMB possesses expansive authority, including “aiding

the President in managing the entire executive branch[.]” Meyer v. Bush, 981 F.2d 1288, 1294

(D.C. Cir. 1993); see also Budget and Accounting Act of 1921, 31 U.S.C. § 1101, et seq.;

Reorganization Plan No. 2 of 1970, Message of the President, 5 U.S.C. App’x 1, reprinted in 1970

U.S.C.C.A.N. 6315, 6316. As the President explained in connection with establishing the modern-

day OMB, the agency is expected to “assess[] the extent to which programs are actually achieving

their intended results, and delivering the intended services to the intended recipients.” Reorg. Plan

No. 2, Message of the President. This evaluation of programs is precisely what OMB directed

here, through a “review [of] agency programs [to] determine the best uses of the funding for those

programs consistent with the law and the President’s priorities.” OMB Memo at 2. Such a review



        1
         The fact that the OMB Memo and related Executive Orders only instruct agencies to act
consistent with applicable law also demonstrates that Plaintiffs’ claims are not ripe. See Common
Cause, 506 F. Supp. 3d at 47–50; see also Texas v. United States, 523 U.S. 296, 300 (1998) (“A
claim is not ripe for adjudication if it rests upon contingent future events that may not occur as
anticipated, or indeed may not occur at all.” (citations omitted)).

                                                  -20-
     Case 1:25-cv-00239-LLA          Document 21-1        Filed 01/30/25       Page 23 of 33




“falls well within [OMB’s] management and budgetary role,” including its responsibility “to

provide federal agencies with consistent, government-wide policy guidance.” New York v. Shalala,

959 F. Supp. 614, 618 (S.D.N.Y. 1997), aff’d, 143 F.3d 119 (2d Cir. 1998).

       Indeed, temporary pauses in obligations or payments of appropriations are quite common.

See City of New Haven v. United States, 809 F.2d 900, 901 (D.C. Cir. 1987) (explaining how

Congress has previously “acknowledged that ‘the executive branch necessarily withholds funds

on hundreds of occasions during the course of a fiscal year’ and such delays may result from the

‘normal and orderly operation of the government’” (quoting H.R. Rep. No. 658, 93d Cong., 1st

Sess. 41 (1971)). The Government Accountability Office (GAO), itself an entity within the

Legislative Branch, has approved of agencies “taking the steps it reasonably believes are necessary

to implement a program efficiently and equitably, even if the result is that funds temporarily go

unobligated.” In re James R. Jones, House of Representatives, B-203057 L/M, 1981 WL 23385

(Comp. Gen. Sept. 15, 1981). The OMB Memo fits comfortably within this Executive Branch

practice of short-term delays in order to determine how best to implement programs consistent

with the President’s policy objectives and consistent with the underlying law governing each

program, and therefore the OMB Memo’s pause is not in excess of OMB’s authority.

       Plaintiffs ignore all of the above authorities and history, and instead base their analysis of

OMB’s authority on a single statutory section about the agency. See TRO Mot. at 6 (discussing 5

U.S.C. § 503). But even considering only those authorities in isolation, the OMB Memo is still

amply justified. OMB’s responsibilities include, among other things, “[p]rovid[ing] overall

direction and leadership to the executive branch on financial management matters”;

“[m]onitor[ing] the financial execution of the budget in relation to actual expenditures, including

timely performance reports”; and “[i]ssu[ing] such other policies and directives as may be




                                               -21-
     Case 1:25-cv-00239-LLA          Document 21-1         Filed 01/30/25      Page 24 of 33




necessary to carry out this section.” 31 U.S.C. § 503(a)(2), (5), (14). These capacious grants of

authority are consistent with OMB’s instruction to agencies that, to the extent permitted by law,

they should pause and review their payments to ensure consistency with the President’s policy

objectives. Thus, Plaintiffs’ claim that OMB lacks authority to issue the Memo is meritless.

       C.      A Temporary Pause in Funding Is Not Arbitrary and Capricious

       The scope of review under the “arbitrary and capricious” standard, 5 U.S.C. § 706(2)(A),

is “narrow and a court is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs.

Ass'n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). This standard “deems the agency

action presumptively valid provided the action meets a minimum rationality standard.” Sierra Club

v. EPA, 353 F.3d 976, 978 (D.C. Cir. 2004) (citation omitted).

       Here, there is nothing irrational about a temporary pause in funding, to the extent

permissible by law, pending a review to ensure compliance with the President’s priorities. That is

precisely what OMB and other subordinate agencies are legally required to do; it cannot be

irrational for them to comply with the law in such a manner. See Part III.A, supra; Sherley, 689

F.3d at 784 (“[A]s an agency under the direction of the executive branch, it must implement the

President’s policy directives to the extent permitted by law.”).

       Moreover, the OMB Memo cogently explains that its objective is to effectuate the

President’s Executive Orders and “safeguard valuable taxpayer resources.” OMB Memo at 1. It

rationally connects the temporary pause with this objective by explaining that it is necessary to

“provide the Administration time to review agency programs and determine the best uses of the

funding for those programs consistent with the law and the President’s priorities.” Id. at 2.

Contrary to Plaintiffs’ assertion that Defendants failed to consider practical consequences or

quantify the problem, see TRO Mot. at 8, the OMB Memo emphasized the significant amount of

money that is expended every year on federal financial assistance—“$3 trillion [in] Federal


                                                -22-
     Case 1:25-cv-00239-LLA          Document 21-1         Filed 01/30/25      Page 25 of 33




financial Assistance, such as grants and loans,” OMB Memo at 1—and then directed agencies to

identify the specific assistance “that may be implicated by any of the President’s executive orders.”

Id. at 2. An agency’s direction to quantify the problem can hardly be impugned as irrational for

failing to quantify the problem.

       Plaintiffs complain that the Memo was issued without notice, see TRO Mot. at 7, as though

this were a rulemaking under the APA. But the APA explicitly exempts from notice-and-comment

rulemaking “matter[s] relating to agency management . . . or to public property, loans, grants,

benefits, or contracts.” 5 U.S.C. § 553(a)(2). And to the extent any individual grant program or

other form of assistance required advance notice, the OMB Memo’s directive to institute the

temporary pause “to the extent permissible under applicable law,” OMB Memo at 2, would have

allowed (and required) the individual agency to provide such notice.

       Lastly, Plaintiffs argue that the Memo was arbitrary and capricious because it failed to take

their reliance interests into account. But “unidentified and unproven reliance interests are not a

valid basis on which to undo agency action. Instead, the harm occasioned must be specifically

identified, reasonably incurred, and causally tied to the delay.” Solenex LLC v. Bernhardt, 962

F.3d 520, 529 (D.C. Cir. 2020). As discussed earlier, supra Section I.B, Plaintiffs have not

identified any reliance interests in receiving payments on particular timeframes that they have

proven would even be affected by the temporary pause. At most, some Plaintiffs might have

reliance interests in receiving specific grant funding. But a temporary pause does not deprive

them of any such funding; it only potentially delays further expenditures for the short time needed

to conduct a review of that funding, which is a potential delay that is wholly unproven on this

record. Accordingly, these are the hallmarks of “unidentified and unproven reliance interests” and

are an “[in]valid basis on which to undo agency action.” Solenex, LLC, 962 F.3d at 529.




                                                -23-
      Case 1:25-cv-00239-LLA            Document 21-1        Filed 01/30/25       Page 26 of 33




Furthermore, to the extent that reliance issues would be relevant to a decision about a specific

federal grant, the OMB Memo would not prevent agencies’ consideration of such interests as

appropriate because the OMB Memo makes clear that agencies should act in accordance with

applicable law. In short, there is nothing irrational about the OMB Memo’s temporary pause on

certain forms of assistance, to the extent permissible by law, pending a review to ensure

consistency with the President’s Executive Orders, as OMB (and individual agencies) are required

to do. Sherley, 689 F.3d at 784.

          D.     Plaintiffs’ First Amendment Claims Are Meritless Because the Government
                 May Choose Which Programs It Intends to Subsidize

          It is well-established that “[t]he Government can, without violating the Constitution,

selectively fund a program to encourage certain activities it believes to be in the public interest,

without at the same time funding an alternative program which seeks to deal with the problem in

another way. In so doing, the Government has not discriminated on the basis of viewpoint; it has

merely chosen to fund one activity to the exclusion of the other.” Rust v. Sullivan, 500 U.S. 173,

193 (1991); see also Ysursa v. Pocatello Educ. Ass’n, 555 U.S. 353, 358 (2009) (explaining that

government “is not required to assist others in funding the expression of particular ideas”); United

States v. Am. Library Ass’n, 539 U.S. 194, 212 (2003) (plurality) (a “‘decision not to subsidize the

exercise of a fundamental right does not infringe the right’”) (quoting Rust, 500 U.S. at 193);

Leathers v. Medlock, 499 U.S. 439, 450 (1991) (government “is not required to subsidize First

Amendment rights”). The Supreme Court has held time and again that the Government does not

penalize, prohibit, restrict, or otherwise infringe on speech simply because it chooses not to pay

for it.

          Here, the funding pause falls squarely within these authorities. In particular, the pause does

not discriminate based on funding recipients’ viewpoints.           Nothing in the OMB Memo or



                                                  -24-
      Case 1:25-cv-00239-LLA         Document 21-1         Filed 01/30/25      Page 27 of 33




elsewhere depends on the expressive activity of recipients; the pause applies evenly to all

recipients in the programs implicated by the President’s Executive Orders.

        So long as the government follows existing law, as the OMB Memo and Executive Orders

direct, the new Administration “‘may make value judgment[s]’” and “‘implement th[ose]

judgment[s] by the allocation of public funds.’” Rust, 500 U.S. at 192-93 (quoting Maher v. Roe,

432 U.S. 464, 474 (1977)). Congress’s “broad discretion” under the Spending Clause “to tax and

spend for the ‘general Welfare’” includes the authority “to impose limits on the use of [the] funds”

it appropriates for particular programs, “to ensure they are used in the manner Congress intends.”

Agency for Int'l Dev. v. All. for Open Soc'y Int'l, Inc., 570 U.S. 205, 213 (2013). In its efforts to

faithfully execute the laws, OMB instructed agencies to implement a pause, where permissible by

law, to determine whether grants are being distributed in the manner that the American people,

through their representatives in Congress and the White House, intended. OMB Memo at 2 (“This

temporary pause will provide the Administration time to review agency programs and determine

the best uses of the funding for those programs consistent with the law and the President’s

priorities.”).

        Plaintiffs object to the pause by relying on caselaw cautioning the government against

adding conditions to spending that may infringe upon recipients’ First Amendment rights. See

TRO Mot. at 10. This line of precedent is inapposite. OMB does not seek to add any new

conditions on federal financial assistance, which explains Plaintiffs’ conspicuous failure to name

any specific condition. See id. at 10-11. Rather, OMB is aligning the President’s and Congress’s

spending priorities within the bounds of the law, which is the statutory function Congress has

assigned OMB. See generally 5 U.S.C. § 503; Part III.B, supra.

        As the Supreme Court explained in Agency for Int’l Dev., there is a difference “between




                                                -25-
     Case 1:25-cv-00239-LLA          Document 21-1         Filed 01/30/25      Page 28 of 33




conditions that define the limits of the government spending program—those that specify the

activities Congress wants to subsidize—and conditions that seek to leverage funding to regulate

speech outside the contours of the program itself.” 570 U.S. at 214-15. In other words, the

government cannot condition funding on a requirement that recipients express or refrain from

expressing certain ideas, “thus effectively prohibiting the recipient from engaging in the protected

conduct outside the scope of the federally funded programs,” Rust, 500 U.S. at 197. But here,

nothing in the pause requires potential recipients to modify their expressive activities so that they

can “hope to receive federal funding again.” TRO Mot. at 11. To the extent the pause contains

any conditions whatsoever, they are solely about the content of the federally funded programs

themselves—conditions that are fully permissible. See, e.g., Davenport v. Wash. Educ. Ass’n, 551

U.S. 177, 188-89 (2007) (the “government can make content-based distinctions when it

subsidizes,” rather than regulates, speech); Am. Library Ass’n, 539 U.S. at 204-05 (the government

has “broad discretion” to “make content-based judgments in deciding what private speech to make

available to the public”): Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 587–88 (1998)

(“[I]n the subsidy context,” the Government may allocate funding “according to criteria that would

be impermissible were direct regulation of speech . . . at stake[.]”). And even if there were

legitimate First Amendment concerns in an individual case, an agency could evaluate those issues

as part of its consideration of what actions are permitted under the law in the context of specific

grant programs and awards.

       Ultimately, Plaintiffs disagree with the pause because it reflects their concern that the new

Administration has “ma[de] value judgment[s]” and “intends to implement [them] by the

allocation of public funds”—but that is precisely what the Government is within its authority to

do. Rust, 500 U.S. at 192-93. As a result, Plaintiffs fail to demonstrate a First Amendment




                                                -26-
      Case 1:25-cv-00239-LLA           Document 21-1        Filed 01/30/25       Page 29 of 33




violation, and all of their claims are meritless.

IV.     THE BALANCE OF THE EQUITIES INDEPENDENTLY FORECLOSES RELIEF

        To the extent this Court does not dismiss this suit, and instead considers whether to grant

a temporary restraining order, such relief is independently foreclosed because Plaintiffs have not

proven any irreparable injury would occur in the short timeframe of any temporary restraining

order. Moreover, the harm to the Government and the public interest would be significant.

        A.      Plaintiffs Have Not Proven Irreparable Injury In the Short Timeframe of a
                Temporary Restraining Order

        In this Circuit, there is a “high standard for irreparable injury.” Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). Any alleged irreparable harm “must

be both certain and great; it must be actual and not theoretical.” Id. It also must be of such

“imminence that there is a clear and present need for equitable relief.” Id. (citing Wisc. Gas Co.

v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (per curiam)) (emphasis in original). Plaintiffs’

motion can be denied solely on the basis that they have failed to demonstrate irreparable injury.

See id. (“A movant’s failure to show any irreparable harm is therefore grounds for refusing to

issue a preliminary injunction, even if the other three factors entering the calculus merit such

relief.” (citing Sea Containers Ltd. v. Stena AB, 890 F.2d 1205, 1210–11 (D.C. Cir. 1989))).

        As already discussed, Plaintiffs’ claims are moot, and, in any event, Plaintiffs never

sufficiently alleged injury even to satisfy the requirements of Article III standing. See Section I.B,

supra. It therefore follows that Plaintiffs have failed to show irreparable injury for similar reasons.

        That conclusion is further underscored by Plaintiffs’ failure to establish irreparable injury

in the short timeframe relevant to a temporary restraining order. As Plaintiffs themselves

acknowledged, see Tr. of Jan. 28 Hrg. at 13, nothing in the record indicates when any Plaintiff

expects to receive any relevant grant payment, let alone that any such payment is expected within



                                                    -27-
     Case 1:25-cv-00239-LLA           Document 21-1        Filed 01/30/25      Page 30 of 33




the time period in which Plaintiffs’ requested temporary restraining order could last. See Fed. R.

Civ. P. 65(b)(2). Absent such proof, they cannot show harm of such “imminence that there is a

clear and present need for equitable relief.” Chaplaincy, 454 F.3d at 297.

       Additionally, even assuming arguendo that a payment was imminently expected, Plaintiffs

fail to explain how a short delay in any payment could cause them irreparable harm. Plaintiffs

attempt to address this issue in connection with SAGE, by asserting that a “short term pause in

funding” would “prevent SAGE from promoting SAGEYou . . . thereby significantly curtailing

its reach and effectiveness.” Tax Decl. (ECF No. 5-2) ¶ 9. But even assuming such amorphous

“reach and effectiveness” could be considered irreparable harm, the SAGEYou platform does not

appear to exist yet, and instead its “planned launch” is “this spring.” Id. Again, Plaintiffs provide

no specific information regarding the timing of inflow of payments, let alone explain why a 14-

day temporary restraining order is necessary to prevent harm to a platform that may not launch

yet for several months.

       Plaintiffs’ Motion relies heavily on Chef Time 1520 LLC v. Small Business Administration,

646 F. Supp. 3d 101 (D.D.C. 2022), but that case is inapposite. In Chef Time, the court found that

the plaintiff would suffer irreparable harm in the absence of a temporary restraining order, because

the defendant was “in the process of distributing . . . the last of the remaining [Restaurant

Revitalization Fund] funds” and the plaintiff would not be able to seek damages “once the fund

has fully expired.” Id. at 115. Here, by contrast, Plaintiffs make no allegation regarding grant

money being exhausted in the absence of a temporary restraining order. In fact, any temporary

pause in a program pursuant to the now-rescinded OMB Memo or the related Executive Orders

would apply to the entire program, rather than to Plaintiffs specifically. Nor do Plaintiffs submit

any information about whether, under their particular grants or other forms of assistance, there are




                                                -28-
     Case 1:25-cv-00239-LLA           Document 21-1         Filed 01/30/25      Page 31 of 33




administrative schemes available for challenging the withholding of funds, or recovering funds to

the extent such funds were improperly delayed or denied. Thus, the reasoning in Chef Time is

inapplicable.

        B.      The Public Interest Weighs Squarely Against Relief

        Lastly, Plaintiffs cannot establish that the balance of equities and the public interest favor

granting the extraordinary remedy of a temporary restraining order. These final two factors merge

in cases where relief is sought from the government. Nken v. Holder, 556 U.S. 418, 435 (2009);

Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016) (when the government is

a party, these two factors merge and “are one and the same, because the government’s interest is

the public interest”).

        In arguing that the public interest weighs in their favor, Plaintiffs primarily rely on the

notion that there is no public interest in the perpetuation of unlawful agency action. See TRO

Mot. at 14. But that is just a repackaged version of their merits arguments, and as previously

discussed, the now-rescinded OMB Memo and the related Executive Orders are lawful.

Furthermore, an injunction here would effectively disable OMB and/or the President from

effectuating the President’s agenda consistent with their constitutional and statutory authorities.

“Any time a [government] is enjoined by a court from effectuating statutes enacted by

representatives of its people, it suffers a form of irreparable injury.” Maryland v. King, 567 U.S.

1301, 1303 (2012) (Roberts, C.J., in chambers) (brackets omitted). And where the Government is

legally entitled to make decisions about the disbursement or allocation of federal funds but is

nonetheless ordered to release the funds, such funds may not be retrievable afterwards.

Particularly given the broad relief that Plaintiffs seek with respect to all recipients of federal

financial assistance, see TRO Mot. at 15-16, the harms to the Government would be tremendous.

Thus, the balance of the equities weighs in favor of the Government and relief should be denied.


                                                 -29-
     Case 1:25-cv-00239-LLA           Document 21-1        Filed 01/30/25       Page 32 of 33




V.     ANY INJUNCTIVE RELIEF SHOULD BE STAYED

       It is a bedrock principle of equity that “injunctive relief should be no more burdensome to

the defendant than necessary to provide complete relief to the plaintiffs.” Califano v. Yamasaki,

442 U.S. 682, 702 (1979). Here, Plaintiffs’ requested TRO—extending “to all recipients of federal

financial assistance,” TRO Mot. at 15—goes far beyond that principle, and indeed their requested

relief goes beyond the limits of a TRO. See ECF No. 5 at 2 (requesting that “the Court order

Defendants to file a status report . . . confirming the regular disbursement and obligation of federal

financial assistance funds” for “twelve weeks”). Not only does such a request fail to “describe in

reasonable detail . . . the act or acts restrained or required,” Fed. R. Civ. P. 65(d)(2)(C), it also

extends beyond the permissible duration of a TRO, which is 14 days subject to renewal. See Fed.

R. Civ. P. 65(b)(2).

       Particularly in light of the extraordinary breadth of Plaintiffs’ motion, to the extent the

Court issues injunctive relief, the United States respectfully requests that such relief be stayed

pending the disposition of any appeal that is authorized, or at a minimum that such relief be

administratively stayed for a period of seven days to allow the United States to seek an emergency,

expedited stay from the court of appeals if an appeal is authorized.

                                          CONCLUSION

       Plaintiffs’ motion for a temporary restraining order should be denied and this entire action

should be dismissed.


Dated: January 30, 2025                        Respectfully submitted,

                                               BRETT A. SHUMATE
                                               Acting Assistant Attorney General

                                               ALEXANDER K. HAAS
                                               Director



                                                -30-
Case 1:25-cv-00239-LLA   Document 21-1    Filed 01/30/25    Page 33 of 33




                               /s/ Daniel Schwei
                               DANIEL SCHWEI
                               Special Counsel (N.Y. Bar)
                               ANDREW F. FREIDAH
                               EITAN R. SIRKOVICH
                               Trial Attorneys
                               United States Department of Justice
                               Civil Division, Federal Programs Branch
                               1100 L Street NW
                               Washington, DC 20530
                               Tel.: (202) 305-8693
                               Fax: (202) 616-8460
                               Email: daniel.s.schwei@usdoj.gov

                               Counsel for Defendants




                                -31-
